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      CLERK’S COURTROOM MOTIONS/MISCELLANEOUS MINUTE SHEET



S.G.,
Individually and as Guardian of
Minor H.C.
               Plaintiff

     Vs.                                                     Case No. 20-2078-JAR

CRYSTAL SMITH,

               Defendants



 JUDGE:                   Julie A. Robinson        DATE:                     3/4/2022
 CLERK:                   Bonnie Wiest             COURT REPORTER:           Dani Murray


                      MINOR SETTLEMENT APPROVAL HEARING

This case comes on before the Court for hearing on plaintiff’s Joint Motion for Approval of
Minor Settlement (Doc. 81) with Defendant Crystal Smith. Plaintiff appears by her counsel,
Daniel Zmijewski. Defendant appears by her counsel, James Durbin. Seth Jurcyk was present
on behalf of Shawnee Mission School District USD 512.

After hearing statements from counsel and testimony of the plaintiff on behalf of her minor
daughter, the Court finds that the settlement is fair and reasonable and grants plaintiff’s motion
approving the settlement agreement.

Counsel is directed to submit an order approving the settlement based on the Court’s findings.

Witness S.G. sworn.
